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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

DIANE OWENS,

               Plaintiff,                            Case No. 2:20-cv-03785-ALM-KAJ

       v.                                            Chief Judge Algenon L. Marbley

FIRSTENERGY CORP., et al.,                           Magistrate Judge Kimberly A. Jolson

               Defendants.



CHANA FRAND,

               Plaintiff,                            Case No. 2:20-cv-04287-ALM-KAJ

       v.                                            Chief Judge Algenon L. Marbley

FIRSTENERGY CORP., et al.,                           Magistrate Judge Kimberly A. Jolson

               Defendants.



                                             ORDER

       Before the Court is the parties’ Joint Motion and Stipulation Regarding Initial Case

Schedule. Having reviewed the joint motion and stipulation and finding good cause, the Court

GRANTS the joint motion.

       It is therefore ORDERED that the schedule for filing any consolidated complaint or

designation of an operative complaint and briefing thereon will be as follows:

       1.      Lead Plaintiff shall file a consolidated complaint (the “Complaint”) no later than

60 days from the entry of this Order;

       2.      No later than 60 days after the filing of the Complaint, Defendants shall answer,



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move to dismiss, or otherwise respond to the Complaint;

       3.      If Defendants file a motion to dismiss the Complaint, Lead Plaintiff shall file their

response no later than 45 days after the filing of the motion to dismiss;

       4.      Defendants shall file their reply in support of any motion to dismiss no later than

30 days after the filing of Lead Plaintiff’s opposition.

       5.      If the last day of any period set forth above is a Saturday, Sunday, or legal

holiday, then the period shall extend until the end of the next day that is not a Saturday, Sunday,

or legal holiday.

       It is further ORDERED that the parties will submit all future filings in these consolidated

cases under the caption In re FirstEnergy Corp. Securities Litigation, No. 2:20-cv-03785.

       SO ORDERED this 14th day of December, 2020.


                                                    s/Kimberly A. Jolson
                                                   UNITED STATES MAGISTRATE JUDGE




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